                Case 1-17-46613-nhl                      Doc 57-1            Filed 04/20/18                Entered 04/20/18 12:16:35


 Information to identify the case:
 Debtor
                    Bracha Cab Corp                                                                     EIN 11−3000724
                    Name


 United States Bankruptcy Court Eastern District of New York
                                                                                                        Date case filed for chapter 11 12/8/17
 Case number: 1−17−46613−nhl




          NOTICE OF FILING OF TRANSCRIPT AND OF DEADLINES RELATED TO
                          RESTRICTION AND REDACTION

NOTICE IS HEREBY GIVEN THAT:

A transcript of the proceeding held on 4/18/18 was filed on 4/20/18.

The following deadlines apply:

The parties have until April 27, 2018 to file with the court a Notice of Intent to Request Redaction of this transcript.
The deadline for filing a Transcript Redaction Request is May 11, 2018.

If a Transcript Redaction Request is filed, the redacted transcript is due May 21, 2018.

If no such Notice is filed, the transcript may be made available for remote electronic access upon expiration of the
restriction period, which is July 19, 2018, unless extended by court order.

To review the transcript for redaction purposes, you may purchase a copy from the transcriber J&J Court
Transcribers at 609−586−2311 or you may view the document at the public terminal at the Office of the Clerk.


 Dated: April 24, 2018


                                                                                        For the Court, Robert A. Gavin, Jr., Clerk of Court


BLnftrans2.jsp [Notice of Filing Transcript and Deadlines to Restriction and Redaction rev. 02/01/17]
